 Case 2:19-cv-00407-JCB Document 45 Filed 01/06/20 PageID.403 Page 1 of 2




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Attorneys for Defendants

              IN THE UNITED STATES DISTRICT COURT
       IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


CALY WATKINS as legal guardian of         NOTICE OF WITHDRAWAL
K.W.,
                   Plaintiff,
v.                                         Case No. 2:19-cv-00407-PMW

JORDAN SCHOOL DISTRICT; DR.               Magistrate Judge Paul M. Warner
PATRICE JOHNSON, in her official
capacity as Superintendent of Jordan
School District; JORDAN SCHOOL
DISTRICT BOARD OF EDUCATION;
BRYCE DUNFORD, in his official
capacity as President of the Jordan
School District Board of Education; and
ANTHONY GODFREY, in his
individual AND official capacity as
Associate Superintendent of Jordan
School District;
                           Defendants.
 Case 2:19-cv-00407-JCB Document 45 Filed 01/06/20 PageID.404 Page 2 of 2




      Diana F. Bradley of the Utah Attorney General’s Office hereby informs the

Court, counsel, and all parties that she withdraws as counsel for Jordan School

District, Jordan School District Board of Education, Anthony Godfrey, Bryce

Dunford, and Amanda Bollinger in this matter. Darin Goff, Assistant Utah

Attorney General continues to represent Jordan School District, Jordan School

District Board of Education, Anthony Godfrey, Bryce Dunford, and Amanda

Bollinger and is aware of all pending deadlines.



      RESPECTUFULLY SUBMITTED this 3rd day of January, 2020.



                                      OFFICE OF THE
                                      UTAH ATTORNEY GENERAL


                                      /s/ Diana F. Bradley
                                      DIANA F. BRADLEY
                                      Assistant Utah Attorney General
                                      Attorney for State Defendants
